   Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 1 of 21



Robert L. Sterup                          Barry Barnett (admitted pro hac vice)
Brown Law Firm, PC                                     Susman Godfrey L.L.P.
315 North 24th Street                               1000 Louisiana, Suite 5100
Billings, Montana 59101                                  Houston, Texas 77002
Telephone: (406) 248-2611                           Telephone: (713) 651-9366
Facsimile: (406) 248-3128                            Facsimile: (713) 654-6666
rsterup@brownfirm.com                            bbarnett@susmangodfrey.com
                                  Attorneys for Defendant Talen Montana, LLC
                                  Additional Attorneys listed in signature block


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

Portland General Electric Company;
Avista Corporation; PacifiCorp; and
Puget Sound Energy, Inc.,               Case No. 1:21-cv-00047-SPW-KLD

                  Plaintiffs,           Defendant Talen Montana, LLC’s Brief
                                        in Opposition to Defendant
      v.                                NorthWestern Corporation’s Motion to
                                        Compel Arbitration Dkt. 120
NorthWestern Corporation; Talen
Montana, LLC; and Austin Knudsen,       Oral Argument Requested
in his official capacity as Attorney
General for the State of Montana,

                  Defendants.
      Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 2 of 21



                                                 Table of Contents

Reasons for Opposition .............................................................................................. 1

Statement of the Case................................................................................................. 2

Facts Relevant to NorthWestern’s Motion ................................................................ 3

Argument.................................................................................................................... 6

         A.        Only Ripe Disputes Can Be Ordered to Arbitration ............................. 7

         B.        The Issue NorthWestern Seeks to Arbitrate Is Unripe ........................ 10

Conclusion ............................................................................................................... 16




                                                             ii

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
      Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 3 of 21



                                                Table of Authorities

                                                                                                                   Page(s)

Cases

Clark v. City of Seattle,
   899 F.3d 802 (9th Cir. 2018) ............................................................................... 9

Electronic & Space Technicians Local Union 1553 v. Raytheon Co.,
   122 F. App’x 895 (9th Cir. 2005) ....................................................................... 10

Lower Colorado River Authority v. Papalote Creek II, L.L.C.,
  858 F.3d 916 (5th Cir. 2017) .......................................................................passim

Oil, Chemical & Atomic Workers International Union AFL-CIO v.
   Gillette Co.,
   905 F.2d 1176 (8th Cir. 1990) ..................................................................9, 10, 13

Owners Insurance Co. v. Burling Professional Cleaners, Inc.,
  2020 WL 8367524 (C.D. Ill. Dec. 23, 2020) .................................................... 4, 9

Papalote Creek II, L.L.C v. Lower Colorado River Authority,
  918 F.3d 450 (5th Cir. 2019) ................................................................................ 9

Papalote Creek II, L.L.C v. Lower Colorado River Authority,
  No. 19-50850, 2021 WL 3026857 (5th Cir. July 16, 2021) ................................. 9

Talen Montana, LLC v. Avista Corp.,
   No. 21-cv-58 (D. Mont.) ..............................................................................passim

Texas v. United States,
   523 U.S. 296 (1998) ............................................................................................ 12

Vaden v. Discover Bank,
  556 U.S. 49 (2009) .......................................................................................passim

Statutes

9 U.S.C. § 4 ................................................................................................................ 7


                                                             iii

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
     Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 4 of 21



        Defendant Talen Montana, LLC (“Talen Montana”) opposes the motion of

defendant NorthWestern Corporation (“NorthWestern”) to compel arbitration, Dkt.

120, as premature.

                                     Reasons for Opposition

        NorthWestern asks the Court to compel Talen Montana and four other co-

owners of a power plant in Colstrip, Montana (“Colstrip”) to arbitrate whether their

contract, the Ownership and Operation Agreement (“O&O Agreement”), allows a

single co-owner to block closure of Colstrip at some point in the indefinite future.

Under Article III of the United States Constitution, “the underlying dispute between

the parties must be ripe in order for the district court to have jurisdiction to compel

arbitration.” Lower Colorado River Authority v. Papalote Creek II, L.L.C., 858 F.3d

916, 921 (5th Cir. 2017) (vacating order compelling arbitration of dispute regarding

power purchase agreement). In this case, the issue that NorthWestern posits as

currently arbitrable has not ripened into a live dispute. Nor would it become an actual

controversy unless a co-owner takes the multiple steps necessary to require a vote of

the co-owners’ Project Committee on a specific proposal to budget for closure—

steps that would include proving that Colstrip cannot operate consistently with




                                                     1

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
     Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 5 of 21



“Prudent Utility Practice”, as Section 31 of the O&O Agreement requires. The Court

should therefore deny NorthWestern’s motion to compel arbitration.1

                                       Statement of the Case

        Portland General Electric Company, Avista Corporation, PacifiCorp, and

Puget Sound Energy, Inc. (the “Pacific Northwest Owners” or “PNOs”) filed this

lawsuit in which they seek declaratory relief regarding the constitutionality of two

Montana statutes, Senate Bills 265 and 266. On the same day, Talen Montana filed

a case against the PNOs and NorthWestern in the Thirteenth Judicial District Court

of Yellowstone County, seeking declaratory relief regarding the parties’ obligations

to arbitrate under the O&O Agreement and an “order enjoining [NorthWestern and

the PNOs] to comply with, and conditionally compelling them to arbitrate in

accordance with the O&O Agreement as modified by,” SB 265. Talen Montana,

LLC v. Avista Corp., No. 21-cv-58-SPW-TJC (D. Mont.), Dkt. 3 at 12. Seven months

later, on December 3, NorthWestern filed a Motion to Compel Arbitration and

Appoint a Magistrate Judge to Oversee Arbitration Procedure Negotiations (the




1
  Talen Montana remains willing to continue working with the other parties to agree
on a protocol that would govern the details of any future arbitration proceeding
relating to potential closure of Colstrip. It is not necessary to appoint a Magistrate
Judge to supervise a process that Talen Montana has always welcomed.
                                           2

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
     Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 6 of 21



“Motion”), Dkt. 120, and a supporting brief (the “Brief”), Dkt. 121. Talen Montana

now timely responds.

                         Facts Relevant to NorthWestern’s Motion

        Talen Montana disagrees with NorthWestern’s view that “this dispute . . .

belongs in arbitration.” Brief at 1. Although NorthWestern concedes that “Talen has

not formally responded to NorthWestern’s Demand or Amended Arbitration

Demand”, Brief at 11, it makes no mention of the letter Talen Montana’s counsel

sent to counsel for the other parties on April 23, 2021. In the letter, Talen Montana’s

counsel made its position as Operator and co-owner of Colstrip abundantly clear:

        Dear Counsel:

        I write on behalf of our client Talen Montana, LLC.

              As you know, Talen Montana serves as the Operator of the Colstrip
        Units 3 and 4 Steam Electric Generating Project (Colstrip Project) for the
        benefit of all Owners and Project Users, including your clients, under the
        Ownership & Operation Agreement of May 6, 1981, as amended (O&O
        Agreement). As you also know, the O&O Agreement specifies procedures
        for making decisions regarding the Colstrip Project and for resolving
        disputes relating to them. Unfortunately, your clients have chosen not to
        follow the procedures. They have opted instead to attempt to short circuit
        the decision-making and dispute-resolution process. Talen Montana
        opposes those efforts.

               Recent submissions indicate that your clients’ actions were triggered
        by a development external to the Colstrip Project. According to page 14 of
        NorthWestern Corporation’s Amended Demand for Arbitration, in 2019 the
        State of Washington passed a law requiring electric utilities to “eliminate coal-


                                                     3

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
     Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 7 of 21



        fired resources” for power they sell in Washington by the end of 2025, more
        than 4 years from now. RCW 19.405.030(1)(a).

               This development may or may not affect future decisions under the
        O&O Agreement. To Talen Montana’s knowledge, no party so far has taken
        the steps necessary under the O&O Agreement to ripen a hypothetical future
        dispute into an actual one that might qualify for arbitration under the letter
        of the O&O Agreement.

               As I have stressed to you, Talen Montana’s responsibilities as Operator
        of the Colstrip Project obliges them to exercise judgment and discretion on
        behalf of the Owners and Project Users. The O&O Agreement prescribes
        orderly processes for the Operator, Owners, and Project Users to propose,
        consider, and make concrete decisions about ongoing and future
        operations. To date, your clients have not presented a live dispute over any
        concrete decisions. Talen Montana’s duties and authority as Operator, and
        as one of the Owners and Project Users, may not and should not be thus
        bypassed.

              We are nonetheless amenable to continuing discussions that could lead
        to agreement on rules, procedures, and deadlines that could govern a
        mediation, arbitration, or other proceeding. The parties discussed reconvening
        on April 28 to resume talks. We look forward to hearing your views on
        whether a follow-up call is advisable.

Case No. 21-cv-58-SPW-TJC at Dkt. 43 at 4 (D. Mont.) (emphasis added).

        Talen Montana’s position has not changed. Despite knowing since no later

than April 23 that they must comply with the “decision-making and dispute-

resolution process” in order to bring the closure question to ripeness, no party has

undertaken the steps required by the O&O Agreement to propose that Colstrip be

closed in 2026 (or at any other time); nor has any party presented evidence that it is

ready, willing, and able to do so; and none has contended that Prudent Utility
                                                     4

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
     Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 8 of 21



Practice (“PUP”) would require closure of Colstrip now or at any time in the future.

Indeed, the PNOs concede they have no plans to seek to close Colstrip in the

foreseeable future. Dkt. 38 at 28. There is no concrete dispute about what vote is

required to close Colstrip because no party has done anything to call a closure vote.

        Talen Montana has participated actively in negotiations with NorthWestern

and the PNOs over a protocol that would govern details of any future arbitration over

possible closure of Colstrip. Its counsel made clear that Talen Montana viewed

arbitration both as premature and as an attempt to evade the requirements of the

O&O Agreement, particularly the provisions regarding decisions by the Project

Committee and the “End of Project” provisions in Section 31. Counsel for Talen

Montana also made clear its openness to a single arbitrator if the protocol balanced

the risk of an outlier award by a single arbitrator with reasonable provisions for a

transparent arbitrator-selection process, an early opportunity to seek dismissal of the

arbitration as premature, discovery of fact and expert witnesses, and the venue and

duration of the final hearing. Dkt. 129-1 ¶ 6; see also Case No. 21-cv-58-SPW-TJC

(D. Mont.) at Dkt. 41-1 (copy of Talen Montana’s proposal). The parties exchanged

multiple drafts of their respective approaches to a protocol. Brief at 12-13. The most

recent discussions appear to have broken down over safeguards in provisions for

selection of an arbitrator or arbitrators. Brief at 12-13.


                                                     5

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
     Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 9 of 21



                                               Argument

        NorthWestern’s motion to compel arbitration should be denied in its entirety

because there is no ripe dispute to arbitrate.

        Federal courts lack jurisdiction under Article III to compel arbitration of

unripe disputes. The PNOs are likely to argue that ripeness is reserved for the

arbitrators, but that argument cannot be squared with Supreme Court precedent.

Federal courts can only compel arbitration after first confirming that they would

otherwise have jurisdiction over the underlying dispute to be arbitrated. See Vaden

v. Discover Bank, 556 U.S. 49, 66 (2009). Ripeness is a necessary component of that

jurisdiction. Lower Colorado River Authority v. Papalote Creek II, L.L.C., 858 F.3d

916, 921 (5th Cir. 2017), cert. denied, 138 S. Ct. 747 (2018).

        Here, the underlying dispute is not ripe because not one of the co-owners has

asked that Colstrip be closed, let alone undertaken the procedures required by the

O&O Agreement to propose a closure vote at any time in the future. NorthWestern’s

motion is premised on the idea that a party might, in the future, take such steps, but

speculation cannot turn a hypothetical dispute into a ripe one. This Court therefore

lacks jurisdiction to compel arbitration, and NorthWestern’s motion should be

denied.




                                                     6

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 10 of 21



            A. Only Ripe Disputes Can Be Ordered to Arbitration

        Courts in this Circuit and across the country refuse to compel arbitration of

unripe disputes. This Court should reject any request by the PNOs to punt ripeness

to the arbitrators––that question is for this Court alone––and instead deny

NorthWestern’s motion to compel arbitration.

        “[T]he underlying dispute between the parties must be ripe in order for the

district court to have jurisdiction to compel arbitration.” Lower Colorado River

Authority, 858 F.3d at 921. This rule follows from a straightforward application of

Vaden, 556 U.S. at 66, in which the Supreme Court held: “§ 4 of the FAA does not

enlarge federal-court jurisdiction[;] . . . a party seeking to compel arbitration may

gain a federal court’s assistance only if, ‘save for’ the agreement, the entire, actual

‘controversy between the parties,’ as they have framed it, could be litigated in federal

court.” Id.; see also 9 U.S.C. § 4 (providing that party may “petition any United

States district court which, save for such agreement, would have jurisdiction under

title 28, in a civil action . . . of the subject matter of a suit arising out of the

controversy between the parties, for an order directing that such arbitration proceed

in the manner provided for in such agreement”). Vaden rejected the argument that

the “controversy between the parties,” for jurisdictional purposes, refers to “the

parties’ discrete dispute over the arbitrability of their claims,” and held that it refers


                                                     7

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 11 of 21



to “the substantive conflict between the parties” that would be the subject of the

arbitration. 556 U.S. at 62-63.

        Under Vaden, federal courts lack jurisdiction to compel arbitration of an

unripe dispute. “Vaden’s holding necessarily implies that any of the reasons that a

federal court may lack subject matter jurisdiction over the underlying dispute—e.g.,

ripeness—would similarly prevent a district court from having jurisdiction to compel

arbitration.” Lower Colorado River, 858 F.3d at 923. “Put another way, given

Vaden’s holding that the district court should assume the absence of an arbitration

agreement in determining whether there is jurisdiction over the underlying dispute,

it necessarily follows that, if the underlying dispute is not ripe, then the district court

would not have jurisdiction to compel arbitration.” Id.

        The PNOs have argued in other filings that ripeness is exclusively for the

arbitrators to decide and that courts may not scrutinize whether the underlying issue

is ripe for adjudication. Specifically, the PNOs claim that Lower Colorado River

“wrongly extended . . . Vaden . . . to a case that did not involve a federal question.”

Case No. 21-cv-58-SPW-TJC, Dkt. 43 at 15. This argument cannot be squared with

Vaden’s holding: “a party seeking to compel arbitration may gain a federal court’s

assistance only if, save for the agreement, the entire, actual controversy between the

parties, as they have framed it, could be litigated in federal court.” Vaden, 556 U.S.


                                                     8

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 12 of 21



at 66 (emphasis added) (internal quotation marks omitted). The dispositive question

is thus whether the dispute to be arbitrated could be litigated in federal court. Federal

courts always lack subject matter jurisdiction over unripe disputes. See Clark v. City

of Seattle, 899 F.3d 802, 808 (9th Cir. 2018) (“Ripeness is one of the justiciability

doctrines that [courts] use to determine whether a case presents a live case or

controversy.”). Ripeness is thus a prerequisite for this Court to compel arbitration.

        The PNOs ask the Court to view Lower Colorado River as an outlier decision,

Case No. 21-cv-58-SPW-TJC, Dkt. 43 at 15, but it remains good law.2 Other courts

have followed suit. For example, in Owners Insurance Co. v. Burling Professional

Cleaners, Inc., 2020 WL 8367524, at *8 (C.D. Ill. Dec. 23, 2020), the court relied

on Vaden to deny a motion to compel arbitration because the issue to be arbitrated

was “premature and not ripe.” Similarly, even before Lower Colorado River, in Oil,

Chemical & Atomic Workers International Union AFL-CIO v. Gillette Co., 905 F.2d

1176, 1177 (8th Cir. 1990), the court affirmed the dismissal of a petition to compel

arbitration after concluding that the underlying dispute was “not ripe for


2
 Notably, the Fifth Circuit twice reaffirmed its decision at later stages of the case.
See Papalote Creek II, L.L.C v. Lower Colorado River Authority, No. 19-50850,
2021 WL 3026857 (5th Cir. July 16, 2021) (affirming district court’s judgment on
merits of dispute); Papalote Creek II, L.L.C v. Lower Colorado River Authority, 918
F.3d 450 (5th Cir. 2019) (holding that, although dispute over Power Purchase
Agreement (“PPA”) had ripened when power purchaser gave notice it would curtail
purchases, dispute fell outside arbitration clause in the PPA).
                                           9

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 13 of 21



adjudication.” Id. at 1177; see also Elec. & Space Techs. Loc. Union 1553 v.

Raytheon Co., 122 F. App’x 895, 895-96 (9th Cir. 2005) (district court erred by not

granting motion “to stay arbitration on the grounds that there was no actual dispute

between the parties as to an alleged violation”).

        Lower Colorado River correctly applied Vaden, and this Court should follow

its lead. Ripeness is a question for this Court; not the arbitrator.

            B. The Issue NorthWestern Seeks to Arbitrate Is Unripe

        There is no ripe dispute to arbitrate, and therefore this Court should deny

NorthWestern’s motion to compel arbitration.

        NorthWestern seeks to compel arbitration of an alleged dispute “among the

Owners about the ongoing operation of Colstrip Units 3 and 4 beyond the year

2025,” Brief at 18, specifically “the vote required to close Colstrip,” Brief at 19. But

the PNOs have not initiated the procedural steps contractually required for

petitioning the Project Committee to close Colstrip in 2026 (which would,

presumably, then lead to a vote among the co-owners). For example, Section 17 of

the O&O Agreement specifies that co-owners must present proposals relating to

maintenance, operation, and construction at Colstrip to the Project Committee.

Section 17(g) requires that any proposal include “itemized cost estimates and other

detail sufficient to support a comprehensive review.” And Section 17(i) requires 15


                                                    10

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 14 of 21



days’ advance notice of intent to make a proposal. The PNOs have done none of

these things. Any vote to close Colstrip remains completely hypothetical.

        Nor would any disagreement about Colstrip’s post-2025 operations be

substantively ripe even if the PNOs truly intended to comply with the O&O

Agreement’s procedures. Section 32 of the O&O Agreement provides that Colstrip

shall continue operating so long as it is “capable of producing electricity consistent

with Prudent Utility Practice or the requirements of governmental agencies having

jurisdiction.” Colstrip is currently producing electricity consistent with Prudent

Utility Practice and that will continue to be the case for the foreseeable future. Talen

Montana’s Answer, Dkt. 58, ¶ 44. The PNOs have not presented any evidence that

Colstrip will as of 2026 fail to meet this standard––or even suggested that such

evidence exists. Nor could they. It is far too early to make that substantive

determination.

        NorthWestern appears to argue that the parties can nevertheless arbitrate over

the proper process for closing Colstrip, even if no party currently is asking for

Colstrip’s closure or trying to invoke those procedures. Brief at 19 (framing the




                                                    11

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 15 of 21



disputed issue as “the vote required to close Colstrip”). That makes the issue even

less concrete (and therefore unripe).

        The Fifth Circuit’s decision in Lower Colorado River Authority, 858 F.3d at

918, is squarely on point. There, the petitioner sought to compel arbitration of the

parties’ “differing interpretations” of their Power Purchase Agreement’s damages

provision governing the obligation of the Lower Colorado River Authority

(“LCRA”) to buy all the energy produced by the operator of a wind farm, Papalote

Creek. Id. at 925. LCRA sought to compel arbitration while, at the same time,

assuring Papalote Creek that it “intends to continue to fully perform its obligations

under the PPA during this arbitration process.” Id. at 920. The Fifth Circuit held that

the district court lacked jurisdiction to compel arbitration because “there is no

evidence that LCRA threatened to stop taking energy or that such a decision was

even likely.” Id. at 925. “A claim is not ripe for adjudication if it rests upon

contingent future events that may not occur as anticipated, or indeed may not occur

at all.” Id. (quoting Texas v. United States, 523 U.S. 296, 300 (1998)).

        The circumstances in this case fit squarely within the holding of Lower

Colorado River Authority. Like the power purchaser in that case, the PNOs have no

concrete plans to seek to close Colstrip. See Dkt. 38 at 28. Nor have the PNOs even

initiated, much less completed, the steps necessary under the O&O Agreement to


                                                    12

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 16 of 21



call a vote. Although they well know that the O&O Agreement sets the standard for

operating Colstrip as Prudent Utility Practice, the PNOs have offered no evidence—

or a plan to develop evidence—to meet the burden of showing what PUP requires.

Even more than in Lower Colorado River, the alleged dispute “rests upon contingent

future events that may not occur as anticipated, or indeed may not occur at all.” 858

F.3d at 925. Because “the underlying dispute is not ripe, . . . the district court [does]

not have jurisdiction to compel arbitration.” Id. at 923.

        Gillette Co., 905 F.2d at 1177, is also instructive. Because the employee “had

not filed a [benefits] claim,” the court refused to compel arbitration over whether he

was entitled to certain benefits, declining to “rule based on the conjectural possibility

that the plan may decline his claim.” Id. at 1177. Like the employee in Gillette, the

PNOs have not initiated the requisite process—here, bringing a concrete closure

proposal to the Project Committee. This Court should likewise decline to “rule based

on the conjectural possibility” that the PNOs might one day do so or that, if they

ever do, their still inchoate plan will be objected to on procedural grounds. Id.

        The PNOs’ conclusory statements that they secretly planned to call a closure

vote during the May 19, 2021 Project Committee meeting but chose not to make no

difference. See Roberts Decl. ¶ 42, Dkt. 39-2; Greene Decl. ¶ 4, Dkt. 105. Even if

credible (and it is not for the reasons Talen Montana previously explained, Dkt. 129


                                                    13

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 17 of 21



at 9), a spur of the moment request for such a vote would have violated multiple

requirements of the O&O Agreement, is extremely unlikely to have been

accompanied by proof that the PUP standard supported the PNOs’ advocacy of early

closure, and contradicts their assurances to this Court that they have no plans to shut

Colstrip any time soon.3 In any event, the PNOs’ statements raise factual disputes

that require discovery.

        This Court should deny NorthWestern’s motion without prejudice, so that this

discovery can occur, particularly in the Thirteenth Judicial District Court,

Yellowstone County, Montana. On December 1, Magistrate Judge Timothy J. Cavan

recommended remand of Talen Montana, LLC v. Avista Corp., No. 21-cv-58 (D.

Mont.), Dkt. 56. In that case, Talen Montana, in relevant part, seeks an order

“conditionally compelling arbitration in accordance with [SB 265] if and to the

extent . . . there is a sufficiently ripe and concrete dispute that is properly resolved

at this time by arbitration under the O&O Agreement.” Id. Dkt. 1-1 ¶ 56. The co-

owners in that case will accordingly need to litigate whether there is a sufficiently

ripe and concrete dispute to be arbitrated at this time, including by exploring in

discovery: the PNOs’ alleged desire to close Colstrip as of 2026; Colstrip’s ability




3
  See Dkt. 38 at 28 (“Nor is there any risk that the PNW Owners will close Colstrip
in the immediate future”).
                                          14

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 18 of 21



to produce electricity consistent with PUP now and in the future; and the extent to

which the Colstrip budget must at some point reflect a potential 2026 retirement. See

id. Dkt. 43 at 5 (Talen Montana’s proposed discovery plan). This Court should

permit the parties to litigate these issues in the Thirteenth Judicial District Court and

then revisit NorthWestern’s motion based on what the discovery bears.

        Finally, NorthWestern tries to manufacture a ripe dispute by suggesting that

the “2022 budgeting process . . . reflects the need for prompt resolution of the issues

in arbitration.” Brief at 11. But NorthWestern’s arbitration demand has nothing to

do with the parties’ ongoing efforts to negotiate Colstrip’s 2022 budget. The

currently under review proposal would look the same regardless of whether the

owners intended to close Colstrip in 2026 or keep it running indefinitely. See Dkt.

129-9 at 1 (cover letter accompanying Talen Montana’s 2022 budget proposal). To

the extent the parties are unable to reach agreement on the 2022 budget, they will

need to arbitrate whether Talen Montana’s proposal is consistent with Prudent

Utility Practice. O&O Agreement § 17(h). But that is an entirely different dispute

from the one raised in NorthWestern’s demand for arbitration. This Court should not

compel the parties to arbitrate NorthWestern’s unripe demand on the basis of an

entirely different (and likewise unripe) issue.




                                                    15

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 19 of 21



        This Court lacks jurisdiction to compel the arbitration NorthWestern seeks

because any disagreement about what type of vote might be required to close

Colstrip is not ripe. NorthWestern’s motion should be denied.

                                              Conclusion

        NorthWestern’s Motion presents a hypothetical dispute over a vote that may

never occur. Because the dispute is unripe, the Court should deny the Motion in all

respects.



                                                                  Respectfully submitted,

Dated: December 23, 2021                                          /s/ Robert L. Sterup

                                                                  Robert L. Sterup
                                                                  Brown Law Firm, PC
                                                                  315 North 24th Street
                                                                  Billings, Montana 59101
                                                                  Telephone: (406) 248-2611
                                                                  Facsimile: (406) 248-3128
                                                                  rsterup@brownfirm.com

                                                                  Barry Barnett (admitted pro
                                                                  hac vice)
                                                                  Adam Carlis (admitted pro hac
                                                                  vice)
                                                                  Susman Godfrey L.L.P.
                                                                  1000 Louisiana, Suite 5100
                                                                  Houston, Texas 77002
                                                                  Telephone: (713) 651-9366
                                                                  Facsimile: (713) 654-6666
                                                                  bbarnett@susmangodfrey.com
                                                    16

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 20 of 21



                                                                  acarlis@susmangodfrey.com

                                                                  Alexander P. Frawley (admitted
                                                                  pro hac vice)
                                                                  Susman Godfrey L.L.P.
                                                                  1301 Avenue of the Americas,
                                                                  32 Fl New York, New York
                                                                  10019-6023
                                                                  Tel.: (212) 336-8330
                                                                  Facsimile: (212) 336-8340
                                                                  afrawley@susmangodfrey.com


                                                                  Attorneys for Defendant Talen
                                                                  Montana, LLC




                                                    17

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
    Case 1:21-cv-00047-SPW-KLD Document 141 Filed 12/23/21 Page 21 of 21



                                     Certificate of Compliance

        Pursuant to L.R. 7.1(d)(2)(E), I certify that this Brief in Opposition to

NorthWestern’s Motion to Compel Arbitration is printed with proportionately

spaced Times New Roman text typeface of 14 points; is double-spaced; and the word

count calculated by Microsoft Office Word is 3,622 words.

Dated this 23rd day of December, 2021



                                                                  /s/ Alexander Frawley
                                                                  Alexander P. Frawley (admitted
                                                                  pro hac vice)
                                                                  Susman Godfrey L.L.P.
                                                                  1301 Avenue of the Americas,
                                                                  32nd Floor
                                                                  New York, New York 10019-
                                                                  6023
                                                                  Tel.: (212) 336-8330
                                                                  Facsimile: (212) 336-8340
                                                                  afrawley@susmangodfrey.com

                                                                  Attorney for Defendant Talen
                                                                  Montana, LLC




                                                    18

Talen Montana’s Opposition to NorthWestern’s Motion to Compel Arbitration
